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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

)
)
v. ) Criminal No. / ? -36
) (18 U.S.C. § 922(g)(1))
LAFON ELLIS )

INDICTMENT DD

COUNT ONE DER 10 zor

The grand jury charges: CLERK U.S. DISTRICT COURT
WEST, DIST. OF PENNSYLVANIA
On or about August 21, 2018, in the Western District of Pennsylvania, the

defendant, LAFON ELLIS, knowing he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, namely:

a. Robbery — Threat of Serious Bodily Injury (two counts) and Burglary, on
or about September 18, 2013, at Docket Number CP-02-CR-0004205-2013, in the Court of
Common Pleas, County of Allegheny, Criminal Division, Commonwealth of Pennsylvania; and

b. Possession of a Firearm with an Altered or Obliterated Mark of
Identification and Possession of a Firearm without a License, on or about November 18, 2013, at .
Docket Number CP-02-CR0008234-2013, in the Court of Common Pleas, County of Allegheny,
Criminal Division, Commonwealth of Pennsylvania,
knowingly possessed, in and affecting interstate commerce, a firearm and ammunition, to wit: one
A0 caliber Sig Sauer pistol, bearing Serial Number 24B218104, and ammunition.

In violation of Title 18, United States Code, Section 922(g)(1).
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FORFEITURE ALLEGATIONS

1. The grand jury re-alleges and incorporates by reference the allegations
contained in Count One of this Indictment for the purpose of alleging criminal forfeiture pursuant

to Title 18, United States Code, Section 924(d)(1), and Title 28, United States Code, Section

/

2461(c).

2. As a result of the knowing commission of a violation of Title 18, United
States Code, Sections 922(g)(1) charged in Count One of the Indictment, the following property
is property involved in, used, and intended to be used in the commission of such offense, and
therefore is subject to forfeiture pursuant to Title 18, United States Code, Section 924(d)(1): the

firearm and ammunition named in Count One of this Indictment.

A True Bill,

bro

Foreperson

SCOTT W. BRADY
United States Attorney

PA ID No. 88352

